Case 9:22-cv-81294-AMC Document 122 Entered on FLSD Docket 09/28/2022 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                             CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                      MOTION TO FILE AFFIDAVIT UNDER SEAL

         The United States of America moves the Court to file under seal one document, the

  United States’ Affidavit Regarding Detailed Inventory (the “Affidavit”), which is made

  pursuant to the Special Master’s Case Management Plan (DE 112). In support of the

  Motion, the government states:

         1.      Courts have inherent power to control access to papers filed with the courts.

  Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978). Courts have traditionally

  been “highly deferential to the government’s determination that a given investigation

  requires secrecy and that warrant materials be kept under seal.” Times Mirror Co. v. United

  States, 873 F.2d 1210 (9th Cir. 1989). Therefore, courts have routinely granted government

  requests to seal warrant materials where there is a need for secrecy. See Washington Post v.

  Robinson, 935 F.2d 282, 289 (D.C. Cir. 1991).

         2.      In a hearing on September 20, 2022, the Special Master gave permission for

  the government to redact the name of the FBI Supervisory Special Agent making the

                                                  1
Case 9:22-cv-81294-AMC Document 122 Entered on FLSD Docket 09/28/2022 Page 2 of 3




  Affidavit. On September 26, 2022, the government filed on the public docket a Notice of

  Filing that attached the redacted version of the affidavit and indicated it had filed a motion

  to seal the unredacted version (DE 116). 1 The proposed sealed document is the unredacted

  version of the Affidavit. The redaction sought here will protect the identity of an FBI agent

  working on this investigation. This limited sealing is necessary because a number of the

  government personnel working on this investigation have, once their identities have been

  revealed publicly, been subject to threats and harassment.

                                        CONCLUSION

         WHEREFORE, for these reasons, the United States of America respectfully requests

  that the Court issue an Order permitting the government to file under seal the government’s

  unredacted Affidavit Regarding Detailed Inventory.



  Dated: September 28, 2022                  Respectfully submitted,


                                             /s/ Julie A. Edelstein_______________________
                                             Julie A. Edelstein
                                             Deputy Chief
                                             Counterintelligence and Export Control Section
                                             National Security Division
                                             United States Department of Justice
                                             950 Pennsylvania Avenue, N.W.
                                             Washington, DC 20530
                                             Special Bar # A5502949
                                             Tel.: 202-233-0986
                                             Email: julie.a.edelstein@usdoj.gov




  1
   Pursuant to the Court’s Order in Docket Entry 116 and Southern District of Florida Local
  Rule 5.4, the government now files on the public docket this Motion.


                                                2
Case 9:22-cv-81294-AMC Document 122 Entered on FLSD Docket 09/28/2022 Page 3 of 3




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 28, 2022, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

  foregoing document is being served this day on all counsel of record via transmission of

  Notices of Electronic Filing generated by CM/ECF.



                                            /s/ Julie A. Edelstein_______________________
                                            Julie A. Edelstein
                                            Deputy Chief
                                            Counterintelligence and Export Control Section
                                            National Security Division
                                            United States Department of Justice
                                            950 Pennsylvania Avenue, N.W.
                                            Washington, DC 20530
                                            Special Bar # A5502949
                                            Tel.: 202-233-0986
                                            Email: julie.a.edelstein@usdoj.gov




                                               3
